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                    Exhibit 12
          TTV Harris County Authorization
            Case 2:23-cv-00120-JRS-MG Document 1-13 Filed 03/16/23 Page 2 of 2 PageID #: 128
Archived: Tuesday, March 14, 2023 12:33:39 PM
From: James Bopp Jr
Sent: Monday, February 20, 2023 4:59:09 PM
To: Jeffrey Gallant
Subject: Fwd: Can we sue Harris County?
Sensitivity: Normal




From: catherine@truethevote.org
To: jboppjr@aol.com
Sent: 8/27/2020 8:54:16 AM US Eastern Standard Time
Subject: Re: Can we sue Harris County?

Yes, I am 100% authorizing it




Sent from ProtonMail Mobile


On Thu, Aug 27, 2020 at 7:52 AM, James Bopp Jr <jboppjr@aol.com> wrote:

      we will look into this asap if it is authorized by you. Jim

      In a message dated 8/27/2020 8:36:50 AM US Eastern Standard Time, catherine@truethevote.org writes:


      Harris County Texas just announced 24-hour voting. Is this something we can sue over? If so, I would like to file as soon as possible.




      Sent from ProtonMail Mobile
